Case 19-02682-hb   Doc   Filed 06/26/20 Entered 06/26/20 07:22:48   Desc Main
                          Document     Page 1 of 6
Case 19-02682-hb   Doc   Filed 06/26/20 Entered 06/26/20 07:22:48   Desc Main
                          Document     Page 2 of 6
              Case 19-02682-hb              Doc        Filed 06/26/20 Entered 06/26/20 07:22:48 Desc Main
                                                        Document         Page 3 of 6
                                                           SN Servicing Corporation           Final
                                                             323 FIFTH STREET
                                                            EUREKA, CA 95501
                                                         For Inquiries: (800) 603-0836
                                             Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: June 23, 2020

     ESTATE OF PAULA A MOSS                                                                                    Loan:
     C/O DAVID E MOSS                                                                        Property Address:
     8185 LOCKHART RD                                                                        8185 LOCKHART ROAD
     SHARON SC 29742                                                                         SHARON, SC 29742



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from Mar 2020 to July 2020. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Aug 01, 2020:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 341.68                  341.68 **                Due Date:                                       Oct 01, 2019
 Escrow Payment:                             87.39                 158.82                   Escrow Balance:                                     (606.91)
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                          873.90
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                       0.00
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                          $266.99
 Total Payment:                              $429.07                    $500.50

     ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.

                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                 Starting Balance                    0.00        (944.37)
     Mar 2020                           69.62                                  * Escrow Only Payment                 0.00        (874.75)
     Apr 2020                           87.39                                  *                                     0.00        (787.36)
     Apr 2020                           49.17                                  * Escrow Only Payment                 0.00        (738.19)
     May 2020                           87.39                                  *                                     0.00        (650.80)
     May 2020                           43.89                                  * Escrow Only Payment                 0.00        (606.91)
                                                                                 Anticipated Transactions            0.00        (606.91)
     Jun 2020                      786.51                                                                                         179.60
     Jul 2020                       87.39                                                                                         266.99
                          $0.00 $1,211.36               $0.00          $0.00

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
     Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
     silent on this issue.




                                                                                                                                            Page 1
        Case 19-02682-hb               Doc        FiledSN06/26/20      Entered 06/26/20 07:22:48
                                                           Servicing Corporation               FinalDesc Main
                                                   Document           Page   4 of
                                                     For Inquiries: (800) 603-0836
                                                                                  6
                                        Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
 Analysis Date: June 23, 2020

 ESTATE OF PAULA A MOSS                                                                                          Loan:

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                               266.99          800.49
Aug 2020               114.36                                                                           381.35          914.85
Sep 2020               114.36                                                                           495.71        1,029.21
Oct 2020               114.36                                                                           610.07        1,143.57
Nov 2020               114.36                                                                           724.43        1,257.93
Dec 2020               114.36                                                                           838.79        1,372.29
Jan 2021               114.36           487.30           County Tax                                     465.85          999.35
Feb 2021               114.36           884.99           Homeowners Policy                             (304.78)         228.72
Mar 2021               114.36                                                                          (190.42)         343.08
Apr 2021               114.36                                                                           (76.06)         457.44
May 2021               114.36                                                                            38.30          571.80
Jun 2021               114.36                                                                           152.66          686.16
Jul 2021               114.36                                                                           267.02          800.52
                    $1,372.32       $1,372.29

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
Your escrow balance contains a cushion of 228.72. A cushion is an additional amount of funds held in your escrow
balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
Federal law, your lowest monthly balance should not exceed 228.72 or 1/6 of the anticipated payment from the account,
unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is 266.99. Your starting
balance (escrow balance required) according to this analysis should be $800.49. This means you have a shortage of 533.50.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12
months.

We anticipate the total of your coming year bills to be 1,372.29. We divide that amount by the number of payments expected during
the coming year to obtain your escrow payment.




                                                                                                                                    Page 2
           Case 19-02682-hb            Doc       Filed 06/26/20   Entered 06/26/20 07:22:48 Desc Main
                                                             Paying the shortage: If your shortage is paid in full, your new
    New Escrow Payment Calculation                Document monthly
                                                                 Page    5 of will
                                                                     payment  6 be $456.04 (calculated by subtracting the
    Unadjusted Escrow Payment                      114.36
                                                                 Shortage Amount to the left and rounding, if applicable). Paying the
    Surplus Amount:                                  0.00
                                                                 shortage does not guarantee that your payment will remain the same, as
    Shortage Amount:                                44.46
                                                                 your tax or insurance bills may have changed. If you would like to pay
    Rounding Adjustment Amount:                      0.00
                                                                 the shortage now, please pay the entire amount of the shortage before
    Escrow Payment:                               $158.82
                                                                 the effective date of your new payment. To ensure that the funds are
                                                                 posted to your account correctly, please notify your asset manager that
                                                                 you are paying the shortage.

   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
or return in the self-addressed envelope.




                                                                                                                            Page 3
 Case 19-02682-hb         Doc     Filed 06/26/20 Entered 06/26/20 07:22:48           Desc Main
                                   Document     Page 6 of 6



                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA
                               SPARTANBURG DIVISION

 In Re:                                             Case No. 19-02682-hb

 David Eugene Moss                                  Chapter 13

 Debtor.                                            Chief Judge Helen E. Burris

                                 CERTIFICATE OF SERVICE

I certify that on June 26, 2020, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          F. Lee O'Steen, Debtor’s Counsel
          lee@osteenlawfirm.com

          Gretchen D. Holland, Chapter 13 Trustee
          ecf@upstate13.com

          Office of the United States Trustee
          USTPRegion04.CO.ECF@usdoj.gov

I further certify that on June 26, 2020, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          David Eugene Moss, Debtor
          8185 Lockhart Road
          Sharon, SC 29742

 Dated: June 26, 2020                               /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
